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13-00-00707-CR

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; COURT OF APPEALS

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; THIRTEENTH DISTRICT OF TEXAS

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CORPUS CHRISTI B
EDINBURG

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


&nbsp;

MIGUEL ANTONIO REYES,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellant,

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; v.

&nbsp;

THE STATE OF TEXAS,&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Appellee.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


&nbsp;

&nbsp;&nbsp;&nbsp; On appeal from the 138th District Court
of Cameron County, Texas.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;


&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O P I N I
O N

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Before Justices Dorsey,
Hinojosa, and Rodriguez

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Opinion
by Justice Hinojosa








A jury found
appellant, Miguel Antonio Reyes, guilty of two counts of robbery,[1]
found he was a habitual offender,[2]
and assessed his punishment at thirty years imprisonment and a $5,000.00 fine
for each count.&nbsp; In two issues, appellant
contends the evidence is legally and factually insufficient to support his
conviction.&nbsp; We affirm.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A.&nbsp; Standard
of Review

When we review
the legal sufficiency of the evidence, we view all the evidence in the light
most favorable to the verdict to determine whether any rational trier of fact
could have found the essential elements of the offense beyond a reasonable
doubt.&nbsp; Jackson v. Virginia, 443
U.S. 307, 319 (1979); Johnson v. State, 23 S.W.3d 1, 7 (Tex. Crim. App.
2000).&nbsp; In conducting this analysis, we
may not re-weigh the evidence and substitute our judgment for that of the
jury.&nbsp; King v. State, 29 S.W.3d 556,
562 (Tex. Crim. App. 2000).&nbsp; The standard
is the same for both direct and circumstantial evidence cases.&nbsp; Kutzner v. State, 994 S.W.2d 180, 184
(Tex. Crim. App. 1999); Vela v. State, 771 S.W.2d 659, 660 (Tex. App.CCorpus Christi
1989, pet. ref'd).&nbsp; We measure the legal
sufficiency of the evidence by the elements of the offense as defined by the
hypothetically correct jury charge. &nbsp;Malik v. State, 953 S.W.2d 234, 240 (Tex.
Crim. App. 1997).&nbsp; Such a charge would
accurately set out the law, would be authorized by the indictment, and would
not unnecessarily increase the State's burden of proof.&nbsp; Id. 








When we review
the factual sufficiency of the evidence, we review all of the evidence and set
aside the verdict only if (1) the evidence is so weak as to be clearly wrong
and manifestly unjust or (2) the verdict is against the great weight of the
evidence.&nbsp; Johnson, 23 S.W.3d at
11.&nbsp; We are not bound to view the
evidence in the light most favorable to the prosecution, and may consider the
testimony of all the witnesses.&nbsp; Id.
at 10-12.&nbsp; Disagreeing with the fact
finder=s determination
is appropriate only when the record clearly indicates that such a step is
necessary to arrest the occurrence of a manifest injustice; otherwise, due
deference must be accorded the fact finder=s
determinations, particularly those concerning the weight and credibility of the
evidence.&nbsp; Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; B.&nbsp; Analysis

In his first
issue, appellant contends the evidence is legally insufficient to support his
conviction because the State failed to prove, beyond a reasonable doubt, that
he intentionally, knowingly, or recklessly caused bodily injury to Omar Sigala
and Guillermo Vasquez.&nbsp; In his second
issue, appellant contends the evidence is factually insufficient to support his
conviction because the State failed to prove, beyond a reasonable doubt, that
he intentionally, knowingly, or recklessly caused bodily injury to Omar Sigala
and Guillermo Vasquez.&nbsp; 

Section 29.02
of the Texas Penal Code provides, in relevant part:

' 29.02.&nbsp; Robbery

(a)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
A person
commits an offense if, in the course of committing theft as defined in Chapter
31 and with intent to obtain or maintain control of the property, he:

&nbsp;

(1)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
intentionally,
knowingly, or recklessly causes bodily injury to another. . . .

&nbsp;

Tex. Pen. Code Ann. ' 29.02(a)(1)
(Vernon 1994).&nbsp; The term Abodily injury@ is defined as
physical pain, illness, or any impairment of physical condition.&nbsp; Tex.
Pen. Code Ann. ' 1.07(a)(8)
(Vernon 1994).&nbsp; According to the court of
criminal appeals:








This definition appears to be purposefully
broad and seems to encompass even relatively minor physical contacts so long as
they constitute more than mere offensive touching.&nbsp; In fact, the degree of injury sustained by a
victim and the Atype of
violence@ utilized by an
accused appear to be of no moment. . . .&nbsp;&nbsp;
We have previously held the evidence sufficient to establish the element
of bodily injury when a complainant testified she suffered physical pain when
the defendant grabbed her briefcase and twisted her arm back, causing her to
sustain a small bruise during the struggle.&nbsp;
Lewis v. State, 530 S.W.2d 117, 118 (Tex. Crim. App. 1975).

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; *&nbsp; *&nbsp;
*&nbsp; *&nbsp; *

&nbsp;

We conclude
that so long as the violence is clearly perpetrated against another Afor the purpose
of . . . preventing or overcoming resistance to theft,@ it does not
serve the legislative intent to engage in fine distinctions as to degree or
character of the physical force exerted.

&nbsp;

Lane
v. State,
763 S.W.2d 785, 786-87 (Tex. Crim. App. 1989).

The State presented the testimony of the victims, Omar Sigala
and Guillermo Vasquez, and the arresting officer, Eduardo Reyes.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 1.&nbsp; Omar Sigala

Omar Sigala testified that he was a loss prevention specialist
at the Montgomery Ward store in Brownsville.&nbsp;
On June 16, 2000, he was working the security cameras when he saw
appellant take a pair of binoculars and put them inside his waistband.&nbsp; Sigala radioed his manager, Guillermo
Vasquez, that he had just seen appellant conceal an item in his waistband and
that appellant was headed toward the men=s
department.&nbsp; Sigala later saw appellant
take two shirts and put them inside his shirt.&nbsp;
When appellant left the store without paying for the items, Sigala ran
after him and yelled, Astop, security.@&nbsp; Appellant turned around and began swinging
his arms, trying to keep Sigala from detaining him.&nbsp; Sigala raised his arms to keep appellant from
hitting him, but appellant kept swinging and hit Sigala=s arms.&nbsp; Sigala grabbed appellant, but appellant
continued swinging, hitting Sigala=s chest and
arms.&nbsp; Vasquez then approached appellant
and grabbed appellant=s
shoulders.&nbsp; Appellant was jerking around,
trying to escape, and the momentum forced all three down to the ground.&nbsp; Sigala testified that his knees and elbows
were scraped and bleeding.&nbsp; He further
testified:








Prosecutor:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Now
the injuries you received, did you feel pain from them?

&nbsp;

Sigala:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Well,
not at the time.&nbsp; The adrenaline was up
and we were kind of focusing on him.

&nbsp;

Prosecutor:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; When
did you start to feel the pain?

&nbsp;

Sigala:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; After
the officer took him, we felt them, but the next day is when we really felt the
soreness and the bruises.

&nbsp;

Prosecutor:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; And
how many bruises did you have, would you estimate?

&nbsp;

Sigala:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; About three from here, and the scrapes
on my elbows and knees.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 2.&nbsp; Guillermo Vasquez

Guillermo Vasquez testified that he was the Loss Prevention
&amp; Safety Manager at Montgomery Ward.&nbsp;
On June 16, 2000, he received a call on his two-way radio from Sigala.&nbsp; Vasquez observed appellant in the men=s department,
next to a shirt display.&nbsp; Appellant made
a movement as if he was concealing something.&nbsp;
Vasquez then exited the store and waited, Ain case the subject did not pay for the
merchandise and he would exit the store or would try to run.@








He later saw
appellant leave the store, and Sigala was behind him.&nbsp; When Sigala attempted to detain him,
appellant started swinging his arms.&nbsp;
Sigala tried to block the punches.&nbsp;
Vasquez moved toward appellant and grabbed him from his shoulders, to
stop him from hitting Sigala.&nbsp; Appellant
then made a jerking motion, causing all three to fall to the ground.&nbsp; In the process, Vasquez scraped his knuckles
on the cement and they bled.&nbsp; Appellant
hit, punched, and kicked Vasquez on the chest, biceps, and back of the neck.&nbsp; After the incident, Vasquez was in Aa little bit of
pain@ and noticed
several bruises.&nbsp; The next day, he
noticed the bruises were darker.&nbsp; The
bruises lasted a week, and they hurt.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 3.&nbsp; Officer Eduardo Reyes

Brownsville
Police Officer Eduardo Reyes testified that while on patrol, he received a call
from his dispatcher that a theft had occurred at the Montgomery Ward store and
there were two loss prevention officers apparently struggling with a
subject.&nbsp; When he arrived at the store,
the dispatcher told him that the subject had been detained and could be found
in the loss prevention office.&nbsp; At the
loss prevention office, he found that the loss prevention officers had
sustained injuries to their arms.&nbsp; They
had some scrapes on the elbows, and one of the victims had injured his
hand.&nbsp; Officer Reyes called EMS because
of the victims= injuries.

We hold the
evidence is legally and factually sufficient to establish the element of bodily
injury.&nbsp; Appellant=s first and
second issues are overruled.

The trial court=s judgment is
affirmed.

&nbsp;

&nbsp;

FEDERICO G.
HINOJOSA

Justice

&nbsp;

Publish.&nbsp;
Tex. R. App. P. 47.3.

&nbsp;

Opinion delivered and filed this the

18th day of July, 2002.&nbsp; 











[1] Tex. Pen. Code Ann. '
29.02 (Vernon 1994).





[2] Tex. Pen. Code Ann. '
12.42 (Vernon Supp. 2002).







